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                     EXHIBIT 6
Case 2:21-cv-00054-JRG-RSP Document 294-7 Filed 09/29/21 Page 2 of 8 PageID #: 8373

   Sechen, Carl                                           September 20, 2021

                                                                            1
                       UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF TEXAS

                              MARSHALL DIVISION


          ARIGNA TECHNOLOGY LIMITED,          Case No.

                     Plaintiff,               2:21-CV-0054-JRG-RSP

          vs.

          VOLKSWAGEN AG et al.,
                     Defendants.

          __________________________




                     REMOTE VIDEOTAPED DEPOSITION OF

                             CARL SECHEN, PH.D.

                             September 20, 2021
                                  1:41 p.m. CST




          Reported by:

          Janice M. Kocek, CSR, CLR

          Job No. 50895




                         Henderson Legal Services, Inc.
   202-220-4158                          www.hendersonlegalservices.com
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   Sechen, Carl                                                                                       September 20, 2021
                                                                                                                2 (Pages 2 to 5)
                                                                  2                                                            4
      1                                                                1
                  The remote videotaped deposition of                      A P P E A R A N C E S: (Continued)
      2                                                                2
            CARL SECHEN, PH.D., called by the Defendants for
      3                                                                3
            examination, pursuant to the Federal Rules of                  ON BEHALF OF DEFENDANTS BMW OF NORTH AMERICA, LLC
      4                                                                4
            Civil Procedure for the United States District                 AND BAYERISCHE MOTOREN WERKE AG:
      5                                                                5
            Courts pertaining to the taking of depositions,                  FINNEGAN HENDERSON FARABOW GARRETT & DUNNER, LLP
      6                                                                6
            reported stenographically by Janice M. Kocek,                    1875 Explorer Street, Suite 800
      7                                                                7
            CSR, CLR, commencing at the hour of 1:41 p.m. CST                Reston, Virginia 20190-6023
      8
            on the 20th day of September, 2021.                        8
                                                                             571.203.2700
      9                                                                9
                                                                             BY: BRADFORD C. SCHULZ, PH.D., ESQ.
     10
                             ***                                      10
                                                                                bradford.schulz@finnegan.com
     11                                                               11
                                                                                     -and-
     12                                                               12
                                                                             Stanford Research Park
     13                                                               13
                                                                             3300 Hillview Avenue, 2nd Floor
     14                                                               14
                                                                             Palo Alto, California 94304-1203
     15                                                               15
                                                                             650.849.6600
     16                                                               16
                                                                             BY: SNEHA NYSHADHAM, ESQ.
     17                                                               17
                                                                                sneha.nyshadham@finnegan.com
     18                                                               18

     19                                                               19
                                                                           ON BEHALF OF DEFENDANT GENERAL MOTORS LLC:
     20                                                               20
                                                                             QUINN EMANUEL URQUHART & SULLIVAN, LLP
     21                                                               21
                                                                             1300 I Street NW, Suite 900
     22                                                               22
                                                                             Washington, DC 20005
     23                                                               23
                                                                             202.538.8000
     24                                                               24
                                                                             BY: MARISSA R. DUCCA, ESQ.
     25                                                               25
                                                                                marissaducca@quinnemanuel.com



                                                                  3                                                            5
      1
          A P P E A R A N C E S:                                       1
                                                                           A P P E A R A N C E S: (Continued)
      2
            ** ALL PARTIES APPEARING REMOTELY **                       2

      3                                                                3
                                                                           ON BEHALF OF DEFENDANTS NISSAN NORTH AMERICAN,
      4
          ON BEHALF OF THE PLAINTIFF ARIGNA TECHNOLOGY LIMITED:        4
                                                                           INC., AND NISSAN MOTOR COMPANY, LTD.:
      5                                                                5
            SUSMAN GODFREY LLP                                                 SHOOK HARDY & BACON LLP
      6                                                                6
            1201 Third Avenue, Suite 3800                                      2555 Grand Boulevard
      7                                                                7
            Seattle, Washington 98101-3000                                     Kansas City, Missouri 64108-2613
      8                                                                8
            206.516.3880                                                       816.474.6550
                                                                       9
      9
            BY: ANDRES HEALY, ESQ.                                             BY: MARY J. PEAL, ESQ.
                                                                      10
     10
               ahealy@susmangodfrey.com                                          mpeal@shb.com
     11                                                               11
               DANIELLE NICHOLSON, ESQ.
                                                                      12
     12
               dnicholson@susmangodfrey.com                                ON BEHALF OF DEFENDANTS MERCEDES-BENZ USA, LLC
                                                                      13
     13
                                                                           AND DAIMLER AG:
                                                                      14
     14
          ON BEHALF OF THE DEFENDANTS VOLKSWAGEN AG AND                        HOGAN LOVELLS US LLP
                                                                      15
     15
          VOLKSWAGEN GROUP OF AMERICA, INC.:                                   Columbia Square
                                                                      16
     16
            FINNEGAN HENDERSON FARABOW GARRETT & DUNNER, LLP                   555 Thirteenth Street, NW
                                                                      17
     17
            1875 Explorer Street, Suite 800                                    Washington, D.C. 20004
                                                                      18
     18
            Reston, Virginia 20190-6023                                        202.804.7859
                                                                      19
     19
            571.203.2700                                                       BY: YI (SALLY) ZHANG, ESQ.
                                                                      20
     20
            BY: ELLIOT C. COOK, ESQ.                                             yi.zhang@hoganlovells.com
     21                                                               21
               elliot.cook@finnegan.com
     22                                                               22
               DANIEL M. JORDAN, ESQ.
     23                                                               23
               dan.jordan@finnegan.com
     24                                                               24

     25                                                               25




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   Sechen, Carl                                                                        September 20, 2021
                                                                                            3 (Pages 6 to 9)
                                                              6                                                   8
     1
          A P P E A R A N C E S: (Continued)                        1
                                                                           THE VIDEOGRAPHER: Here begins the
     2                                                              2
                                                                        videotaped deposition of Carl Sechen taken
     3
          ON BEHALF OF DEFENDANTS ADC AUTOMOTIVE DISTANCE           3
                                                                        in the matter of Arigna Technology Limited
     4                                                              4
          CONTROL SYSTEMS GMBH & CONTI TEMIC                            v. Volkswagen AG, et al., in the United
     5                                                              5
          MICROELECTRONIC GMBH AND CONTINETNAL AG:                      States District Court for the Eastern
     6                                                              6
            RATNERPRESTIA                                               District of Texas, Marshall Division, Case
     7                                                              7
            2200 Renaissance Boulevard, Suite 350                       No. 2:21-cv-00054-JRG-RSP.
     8                                                              8
            King of Prussia, Pennsylvania 19406                                 Today's date is September 20th,
     9                                                              9
            610.407.0700                                                2021. The time is 1:41 p.m. Central. This
     10                                                            10
            BY: CHRISTOPHER H. BLASZKOWSKI, ESQ.                        deposition is being held remotely via Zoom
     11                                                            11
               cblaszkowski@ratnerprestia.com                           videoconference.
     12                                                            12
                                                                                The court reporter is
     13                                                            13
          ON BEHALF OF THE DEFENDANTS TESLA MOTORS TX, INC.             Janice Kocek. I am Joe Townsend, the video
     14                                                            14
          AND TESLA INC.:                                               camera operator. We're both here on behalf
     15                                                            15
            COOLEY LLP                                                  of Henderson Legal Services.
                                                                   16
     16
            1299 Pennsylvania Avenue NW, Suite 700                              Would counsel and others, please,
                                                                   17
     17
            Washington, DC 20004                                        introduce themselves and state whom they
                                                                   18
     18
            202.842.7800                                                represent.
                                                                   19
     19
            BY: ADAM PIVOVAR, ESQ.                                           MR. HEALY: My name is Andres Healy.
                                                                   20
     20
               apivovar@cooley.com                                      I represent Arigna Technology Limited. I'm
                                                                   21
     21
                                                                        here on behalf of Arigna and the witness,
                                                                   22
     22
          ALSO PRESENT:                                                 Dr. Sechen.
                                                                   23
     23
            JOE TOWNSEND, Legal Videographer                                 MR. COOK: Good afternoon. This is
                                                                   24
     24
                                                                        Elliot Cook from the law firm of Finnegan on
                                                                   25
     25
                                                                        behalf of the two Volkswagen defendants.


                                                              7                                                   9
      1                                                             1
                         INDEX                                          And also with me on the line on behalf of
      2                                                             2
                                                                        Volkswagen, we have Dan Jordan. I'll leave
      3                                                             3
           TESTIMONY OF CARL SECHEN, PH.D.                  PAGE        it to the other defense counsel, please, to
      4                                                             4
             EXAMINATION By MR. COOK                  10                introduce themselves.
      5                                                             5
                                                                             MS. DUCCA: This is Marissa Ducca from
      6                                                             6
                    DEPOSITION EXHIBITS                                 the law firm Quinn Emanuel Urquhart &
      7                                                             7
           NUMBER         DESCRIPTION                PAGE               Sullivan on behalf of GM LLC.
      8                                                             8
           Exhibit 1 Declaration of Dr. Carl Sechen 14                       MR. BLASZKOWSKI: This is
      9                                                             9
           Exhibit 2 Plaintiff Arigna Technology's 15                   Chris Blaszkowski of RatnerPrestia on behalf
     10                                                            10
                    Preliminary Claim Constructions                     of the Continental defendants.
                                                                   11
     11
                    and Extrinsic Evidence                                   MR. SCHULZ: This is Bradford Schulz
                                                                   12
     12
           Exhibit 3 United State Patent          20                    of the Finnegan law firm representing the
                                                                   13
     13
                    7,397,318 B2                                        BMW defendants. And also with me is Sneha
                                                                   14
     14
                    ARIGNA-054_00000147-00000157                        Nyshadham. She's also with BMW as well.
                                                                   15
     15
           Exhibit 4 Patent Abstracts of Japan       81                      MS. PEAL: This is Mary Peal from
                                                                   16
     16
                    Application: 2003-109343                            Shook, Hardy & Bacon on behalf of the Nissan
                                                                   17
     17
                    ARIGNA-054_00000068-00000078                        defendants, Nissan North America, Nissan
                                                                   18
     18
           Exhibit 5 Modern Dictionary of         100                   Motor Company.
                                                                   19
     19
                    Electronics                                              MR. COOK: Anybody else?
                                                                   20
     20
           Exhibit 6 United States Patent         106                        MS. ZHANG: This is Yi Zhang from
                                                                   21
     21
                    6,404,347 B1                                        Hogan Lovells representing Daimler AG and
                                                                   22
     22
           Exhibit 7 Exhibit B, Modern Dictionary 114                   Mercedes-Benz USA.
                                                                   23
     23
                    of Electronics                                           MR. PIVOVAR: This is Adam Pivovar of
                                                                   24
     24                                                                 the Cooley LLP law firm on behalf of the
                                                                   25
     25                                                                 Tesla defendants.



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   Sechen, Carl                                                                       September 20, 2021
                                                                                 29 (Pages 110 to 113)
                                                      110                                                       112
      1                                                        1
              Q. Is capacitor C1 not directly connected                    So -- you know, so a POSITA would know
      2                                                        2
          to 4 and L1?                                             that, you know, you'd probably be better off
      3                                                        3
                    MR. HEALY: Object to the form.                 slightly -- at least slightly above zero at the
      4                                                        4
                    THE WITNESS: Well, certainly it's              top of 12. At least slightly. And furthermore,
      5                                                        5
              connected, as I've defined "connected." But          any curve in Figure 2 between the second
      6                                                        6
              is it directly connected? No, there's --             embodiment and first embodiment would be, first
      7                                                        7
              you know, there's an intermediate component.         of all, substantially better than the background
      8                                                        8
                       You wouldn't say C1 is directly             art. So --
      9                                                        9
              connected to L1 because there's this wire                Q. Go ahead.
     10                                                       10
              going off to 4. And so there's not -- the                A. So anyway, you know, the teaching is
     11                                                       11
              current is diverting -- somewhere on the             that is -- is clear that any voltage at the top
     12                                                       12
              current is diverting there.                          of 12 that's appreciably less than what the prior
     13                                                       13
          BY MR. COOK:                                             art would use would be a big improvement.
     14                                                       14
              Q. And at the top end of C1, is it your                  Q. In Figure 2, what does the dashed line
     15                                                       15
          opinion that C1 is not directly connected to             representing?
     16                                                       16
          point 1 and L4 or is that an indirect connection?            A. You mean the box 22?
     17                                                       17
                    MR. HEALY: Object to the form.                     Q. I'm sorry. So in Figure 2, sir.
     18                                                       18
                    THE WITNESS: Well, technically -- I                A. Figure 2. Zero volts?
     19                                                       19
              mean, first of all, according to my                      Q. Yes.
     20                                                       20
              definition, they are connected. You know,                    What is that representing?
     21                                                       21
              C1 is connected to both 1 and L4. But it's               A. That they would like the voltage at X
     22                                                       22
              technically an indirect connection.                  to be as high as zero for the first embodiment.
     23                                                       23
          BY MR. COOK:                                                 Q. Does that indicate to you that the
     24                                                       24
              Q. Sir, next I'd like to please take a               grounds above resistor 12 would be zero volts
     25                                                       25
          look at Figure 1 of the '318 patent. So this is          according to Figure 2?


                                                      111                                                       113
      1                                                        1
          Exhibit 3, please.                                           A. No, because you couldn't get zero at X
      2                                                        2
                   Please let me know when you're there.           if that was ground because that resistor would
      3                                                        3
              A. Yeah, I have it.                                  have to be, you know, milliohms or something,
      4                                                        4
              Q. In terms of Figure 1, do you see the              like super tiny, and then you wouldn't get any
      5                                                        5
          ground coming off of the top of resistor 12?             dynamic range on the voltage X to get to the
      6                                                        6
              A. Yes.                                              bottom of the varactor. So it wouldn't work.
      7                                                        7
              Q. What is typically the voltage of a                        And now, if you put a bigger resistor
      8                                                        8
          ground?                                                  at 12, you get range but then the current would
      9                                                        9
              A. Well, for DC it would be zero volts.              have to be so tiny so you still get zero volts at
     10                                                       10
          But you know, usually that's what it, you know,          X that the transistor would not be on.
     11                                                       11
          typically is. But for AC it can be anything, any                 So you know, if you want to achieve
     12                                                       12
          fixed voltage.                                           the curve that's the bottom last one on Figure 2,
     13                                                       13
              Q. According to the '318 patent, does                the bottom-most one, you're really going to have
     14                                                       14
          Figure 1 utilize DC or AC voltage sources?               to have a voltage there at -- at the top of 12
     15                                                       15
              A. Well, you know, again, I -- I would               that's a little bit above zero, to be honest.
     16                                                       16
          say it's a -- as I use the dictionary definition             Q. Are there any specific examples in the
     17                                                       17
          and that's consistent with my teachings and --           '318 patent of a non-zero ground -- a non-zero
     18                                                       18
          it's affixed voltage. That -- therefore, it's an         voltage ground?
     19                                                       19
          AC ground. And it's a fixed reference voltage.                    MR. HEALY: Object to the form.
     20                                                       20
                  And if you look at Figure 2, you can                         Sorry. Object to the form.
     21                                                       21
          see that, you know, they want the voltage to --                      My box didn't light up again.
     22                                                       22
          at X to be really close to zero. And if you make                  THE WITNESS: It's not stated. And
     23                                                       23
          that top of resistor 12 exactly zero, you can't              like I said, that ground symbol is also used
     24                                                       24
          really achieve that. You know, you can't really              universally for AC ground. And that
     25                                                       25
          get X really close to zero.                                  represents any power supply.



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   Sechen, Carl                                                                       September 20, 2021
                                                                                30 (Pages 114 to 117)
                                                       114                                                     116
      1                                                        1
                      So you know, it -- and again, a                      THE WITNESS: I mean, I -- I mean, AC
      2                                                        2
              person of ordinary skill in the art would --             ground can be anything. You know, it could
      3                                                        3
              would -- would just know from looking at                 be 15 volts. It could be 10 volts. DC
      4                                                        4
              Figure 2 and the topology of Figure 1 that a             ground can usually be zero. But it -- you
      5                                                        5
              voltage at the top of 12 would be better off             know, you don't know from just looking at a
      6                                                        6
              to be above zero.                                        circuit necessarily what they're talking
      7                                                        7
          BY MR. COOK:                                                 about.
      8                                                        8
              Q. I'm going to introduce next Exhibit 7.            BY MR. COOK:
      9                                                        9
                    (Sechen Deposition Exhibit 7                       Q. And so focusing on the term "earth"
     10                                                       10
                    was marked for identification.)                here in this definition No. 2, what is the
     11
          BY MR. COOK:                                        11
                                                                   commonly understood voltage of earth?
     12                                                       12
              Q. And, sir, please let me know when you                 A. Well, actually, that's the reference
     13
          see Exhibit 7.                                      13
                                                                   potential. You know, a voltage means nothing,
     14
              A. Okay. I have it.                             14
                                                                   right? It's a two-terminal concept. It's the --
     15
              Q. Okay. Can you please take a look at          15
                                                                   it's the -- voltage needs a reference. Current
     16
          -- this is page 3 of the PDF, page 327 of the       16
                                                                   doesn't, though. You know, if you say there's so
     17
          document.                                           17
                                                                   many amps flowing, that's what it is. This is
     18
                   Do you see that?                           18
                                                                   why, you know, you can jump up and grab onto a
     19
              A. Yes.                                         19
                                                                   600 volt line and you're totally okay unless your
     20
              Q. And there's a definition on the right        20
                                                                   foot touches ground. Then you're not okay. So
     21
          of "grounds."                                       21
                                                                   you know, you need that reference. And the
     22
                   Do you see that definition -- or           22
                                                                   reference can actually be anything and the
     23
          several definitions?                                23
                                                                   circuit's fine. In other words, you can raise
     24
              A. Yes.                                         24
                                                                   all DC voltages by one volt in a circuit and
     25
              Q. Now, looking at the second definition        25
                                                                   nothing will change, almost.


                                                       115                                                     117
      1
          that's not highlighted here, the second              1
                                                                       Q. Is it fair to say that the actual
      2
          definition reads (as read): The voltage              2
                                                                   voltage potential of earth literally is generally
      3
          reference point in a circuit. There may or may       3
                                                                   understood to be zero volts or near zero?
      4
          not be an actual connection to earth, but it is      4
                                                                           MR. HEALY: Object to the form.
      5
          understood that a point in the circuit said to be    5
                                                                           THE WITNESS: Well, I mean, it's just
      6
          at ground potential could be connected to earth      6
                                                                       a reference. And I -- you know, it's really
      7
          without disturbing the operation of the circuit      7
                                                                       not correct to say it's zero volts because
      8
          in any way.                                          8
                                                                       that's saying that there's no difference
      9
                   Do you see that?                            9
                                                                       between ground potential and -- and -- and
     10                                                       10
              A. Yes, I see that.                                      something else. But what's the something
     11
              Q. So what is generally understood as the       11
                                                                       else? Because remember, volts is from one
     12
          actual voltage of earth in this context?            12
                                                                       terminal to another terminal.
     13                                                       13
              A. Well, as I said, there is the notion              BY MR. COOK:
     14                                                       14
          of a DC ground and then there's the notion of an             Q. Now, if we -- can you please take a
     15                                                       15
          AC ground. And they -- and they both are quite           look, sir, at Figure 1 of the '318 patent.
     16                                                       16
          reasonable things. An AC ground just means that              A. Yes.
     17                                                       17
          there's no sinusoidal variation in -- in the                 Q. Now, the output of circuit 22 at point
     18                                                       18
          voltage. So any fixed voltage. And so it's,              X, what is the output of circuit 22 at point X
     19                                                       19
          yeah, definitely a reference point.                      supposed to be?
     20
              Q. What is the typical voltage of ground        20
                                                                       A. Well, you want it to vary like from
     21
          literally in this context?                          21
                                                                   fairly low but not too high because if you make
     22
                   MR. HEALY: Object to the form.             22
                                                                   it too high, the capacitor 6, which is a reverse
     23
                       Sorry. Object to the form.             23
                                                                   bias diode, it will forward bias if you make that
     24
                       I can't tell if you heard me           24
                                                                   too high. So that was the -- the gist of what
     25
              twice. I apologize if you did.                  25
                                                                   they're trying to do here is to get X lower. And



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   Sechen, Carl                                                                      September 20, 2021
                                                                                31 (Pages 118 to 121)
                                                      118                                                       120
      1                                                       1
          -- and so -- so the lowest figure on Figure 2               have for now. So thank you.
      2                                                       2
          is -- you know, they want to shift that figure                 THE WITNESS: Okay. All right.
      3                                                       3
          way lower.                                                  Thanks.
      4                                                       4
                  But a person of ordinary skill would                   MR. HEALY: Nothing from my side.
      5                                                       5
          look at this and go, gee, anything between the                     Thank you, Dr. Sechen.
      6                                                       6
          bottom curve and, say, halfway to the second                   THE WITNESS: Okay. All right. I
      7                                                       7
          embodiment would be really good as well, maybe              guess I'll just log out then.
      8                                                       8
          better. And so -- because putting it right at                  MR. HEALY: Yeah. I think you're
      9                                                       9
          zero, you're -- you're not -- you're -- you're              done. Thank you very much, Dr. Sechen.
     10                                                      10
          always going to be negative and possibly                       THE VIDEOGRAPHER: We're off the
                                                             11
     11
          substantially -- somewhat substantially so.                 record at 5:07 p.m.
     12                                                      12
              Q. Now, if the ground above resistor 12                    (Time concluded: 5:07 p.m.)
     13                                                      13
          was an AC grounds, would that have an effect --
     14                                                      14
          would that have an effect on the voltage at
     15                                                      15
          point X?
     16                                                      16
              A. Well, it -- it would be quite fine.
     17                                                      17
          You know, you would want that to be an AC ground
     18                                                      18
          at the top of 12 in any event.
     19                                                      19
              Q. Would an AC ground at the top of
     20                                                      20
          resistor 12 have any effect on the voltage at
     21                                                      21
          point X?
     22                                                      22
              A. Not the fact that it's AC ground, no.
     23                                                      23
              Q. If the ground above resistor 12 was an
     24                                                      24
          AC ground, would that cause the voltage at point
     25                                                      25
          X to alternate?


                                                      119                                                       121
      1                                                       1
             A. No.                                               STATE OF ILLINOIS )
                                                              2
      2
              Q. If we replaced all three grounds shown                    ) SS:
                                                              3
      3
          in Figure 1 with AC grounds, would that affect          COUNTY OF COOK )
      4                                                       4
          the voltage at point X?
                                                              5
      5
             A. No, because -- yeah, it's -- there's                    I, Janice M. Kocek, CSR, CLR, No. 084-002871,
                                                              6
      6
          no variation. So that's fine.                           do hereby certify:
                                                              7
      7
              Q. Does the '318 patent provide any                       That the foregoing remote deposition of
                                                              8
      8
          specific teaching on an AC grounds?                     CARL SECHEN, PH.D., was taken at the time and
                                                              9
      9
             A. Well, it's a very common concept for              place therein set forth, at which time the
                                                             10
     10                                                           witness was put under oath remotely by me;
          analog circuits. And this certainly has an         11
     11                                                                 That the testimony of the witness and
          element of analog circuit design in it.            12
     12                                                           all objections made at the time of the
                  MR. COOK: Why don't we do this,            13
     13                                                           examination were recorded stenographically by me,
              Doctor, let's do a ten-minute break this       14
     14
                                                                  were thereafter transcribed under my direction
              time if that works for you. And we can come    15
     15
                                                                  and supervision, and that the foregoing is a true
              back on and see where we are.                  16
     16
                                                                  record of same.
                  THE WITNESS: Okay.                         17
                                                                        I further certify that I am neither
     17
                  THE VIDEOGRAPHER: Going off the            18
                                                                  counsel for nor related to any party to said
     18
              record at 4:55 p.m.                            19
                                                                  action, nor in any way interested in the outcome
     19
                    (Whereupon, a recess was taken           20
                                                                  thereof.
     20
                    from 4:55 p.m. to 5:06 p.m.)             21
                                                                        IN WITNESS WHEREOF, I have subscribed my
     21
                  THE VIDEOGRAPHER: Back on the record       22
                                                                  name this 26th day of September, 2021.
     22
              at 5:06 p.m.                                   23
     23
                  MR. COOK: Dr. Sechen, I appreciate         24
                                                                       ____________________________________
     24
              your time today. Unless there's anything                 JANICE M. KOCEK
     25
              from your counsel, that's all the defendants   25
                                                                       CSR NO. 084-002871




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   Sechen, Carl                                                       September 20, 2021
                                                                          32 (Page 122)
                                                              122
      1
                   ACKNOWLEDGMENT OF DEPONENT
      2
                 I, _______________________, do hereby
      3
          acknowledge that I have read and examined the
      4
          foregoing testimony, and the same is a true,
      5
          correct and complete transcription of the
      6
          testimony given by me, and any corrections appear
      7
          on the attached Errata Sheet signed by me.
      8

      9

     10

     11
          ____________ ___________________________________
     12
          (DATE)      (SIGNATURE)
     13

     14

     15
          NOTARIZATION (If Required)
     16
          State of ______________________
     17
          County of _____________________
     18
          Subscribed and sworn to (or affirmed) before me
     19
          on this ______ day of ______________________,
     20
          20____, by ____________________________, proved
     21
          to me on the basis of satisfactory evidence to be
     22
          the person who appeared before me.
     23

     24
          Signature: __________________________________
     25
                 (SEAL)




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